                             UNITED STATES DISTRICT COURT                         Motion GRANTED.
                                                                                  Hearing reset for 7/31/14 at
                        FOR THE MIDDLE DISTRICT OF TENNESSEE                      1:30 p.m.

                                     NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )       No. 3:07-00223
       v.                                     )       Judge Trauger
                                              )
REGGIE K. JACKSON                             )

                     MOTION TO CONTINUE REVOCATION HEARING

       Comes the defendant and hereby moves the Court to continue the revocation hearing

currently set for June 3, 2014.

        In support of this motion, defendant would state and show that the alleged violation in

this case is based on a State arrest of Mr. Jackson. The case has been indicted and is pending in

Circuit Court in Wilson County. Although the parties anticipated that it would be resolved prior

to the current date of his revocation hearing, the state case has been continued to July 23, 2014.

       Assistant United States Attorney Brent Hannafan advises that he has no objection to the

requested continuance. Counsel understands that Mr. Jackson is otherwise in compliance with

his conditions.

                                            Respectfully submitted,


                                            s/ Sumter L. Camp
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